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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


 KRISTINE YOUNG,

        Plaintiff,

           v.                                             Civil Action No. 2:17-cv-00238-DBH

 WAL-MART STORES EAST, LP,

        Defendant.

                               STIPULATION OF DISMISSAL

       NOW COME the parties, by and through their respective counsel, and hereby stipulate to

the dismissal of this matter with prejudice and without costs to any party.



       Dated at Portland, Maine this 15th day of March 2018


                                                     /s/ Chad T. Hansen____
                                                     Chad T. Hansen
                                                     Attorney for Plaintiff

                                                     Maine Employee Rights Group
                                                     92 Exchange Street, 2nd Floor
                                                     Portland, ME 04101
                                                     207-874-0905

                                                     /s/ Shiloh D. Theberge
                                                     Shiloh D. Theberge
                                                     Attorney for Defendant

                                                     Littler Mendelson
                                                     One Monument Square, 6th Floor
                                                     Portland, ME 04101
                                                     207-774-6001




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